          Case 2:24-cv-01135-DG-ST Document 3 Filed 02/16/24 Page 1 of 2 PageID #: 25
AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                     Eastern District of New York

JOSEPH FISCHETTI, individually and on behalf of                  )
all others similarly situated,                                   )
                                                                 )
                                                                 )
                            Plaintiff(s)
                                                                 )
                                                                 )
                                v.                               )       Civil Action No.             2:24-cv-01135 '* 67
                                                                 )
MONDELĒZ GLOBAL LLC,                                             )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Mondelēz Global LLC
                                           c/o The Corporation Trust Company
                                           1209 N Orange St
                                           Wilmington DE 19801-1120




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you_
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ._
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Sheehan & Associates P.C., 60 Cuttermill Rd Ste 412 Great Neck NY 11021-
                                       3104 (516) 268-7080




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint._
You also must file your answer or motion with the court.
                                                                           %5(11$%0$+21(<
                                                                           CLERK OF COURT


Date:     
                                                                                      SSignature off Clerk
                                                                                                     Cl k or Deputy Clerk
            Case 2:24-cv-01135-DG-ST Document 3 Filed 02/16/24 Page 2 of 2 PageID #: 26

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Civil Action No. 2:24-cv-01135

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
was received by me on (date)                                          .


               I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                  , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

               I returned the summons unexecuted because                                                                         ; or

               Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $                     .

           I declare under penalty of perjury that this information is true.


Date:
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address


Additional information regarding attempted service, etc:




                                                                          
